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 11

 12                                                                                                                                 UNITED STATES DISTRICT COURT
 13                                                CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
 14
      SDI LABS, INC., a California       ) CASE NO. 2:23-CV-05619-MMFMRWx
 15   corporation,                       )
                                         ) FIRST AMENDED COMPLAINT
 16                                      )
                       Plaintiff,        )
 17                                      )
      v.                                 )
 18                                      )
      SAMEDAY TECHNOLOGIES, INC., a )
 19   Delaware Corporation dba SAME DAY )
      HEALTH; PRAESIDIUM                 )
 20   DIAGNOSTICS LLC, dba SAME DAY )
      HEALTH AND SAME DAY TESTING; )
 21   FUNDAMENTUM HEALTH, INC., a )
      Delaware Corporation, QUICKMED     )
 22   DIAGNOSTICS, INC., a California    )
      Corporation dba QUICK MEDDX;       )
 23   FELIX HUETTENBACH, an individual; )
      and DOES 1 through 50,             )
 24                                      )
                       Defendants.       )
 25                                      )
           Comes now, Plaintiff, SDI LABS, INC., a California Corporation, which
 26
      complains and alleges the following:
 27

 28

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  1                                                                                                                       GENERAL ALLEGATIONS- PARTIES
  2                                      1.                                  At all times herein mentioned SAMEDAY TECHNOLOGIES, INC., is
  3   and was a Delaware Corporation dba SAME DAY HEALTH, (“Same Day”)
  4   conducting business in Los Angeles County, with a principal place of business in
  5   Venice, California.                                                                                                             Same Day owns and operates various websites, such as
  6   www.Same Day testing.com. At all relevant times, Same Day has transacted
  7   business in California, including Los Angeles City and County. Same Day is a
  8   subsidiary and/or successor corporation to Praesidium Diagnostics LLC.                                                                                                                                                                                                                                                                                                                                                                                          Felix
  9   Huettenbach is the CEO of Same Day.
 10                                      2.                                  At all times mentioned herein QUICKMED DIAGNOSTICS, INC., is
 11   and was a California Corporation dba QUICK MEDDX (“QuickMed”), operates
 12   with multiple locations and clinics nationwide (California, Maryland, Massachusetts,
 13   Indiana, New Jersey, Florida, Connecticut, Virginia, Illinois, Washington, Colorado,
 14   New York, Tennessee, District of Columbia and Georgia). QuickMed owns and
 15   operates                                                               various                                                           websites,                                                                    such                                               as                                   https://www.quickmedca.com/,
 16   https://www.quickmeddx.com/. Felix Huettenbach is the CEO of QuickMed.
 17                                      3.                                  At all times herein mentioned, FUNDAMENTUM HEALTH, INC., is
 18   and was a Delaware corporation, (“Fundamentum”) that is authorized to conduct
 19   business in California and is located in Venice California. Felix Huettenbach is the
 20   CEO of Fundamentum.
 21                                      4.                                  Plaintiff is informed and believes that at all times herein mentioned,
 22   FELIX HUETTENBACH, (“Huettenbach”) is and was an individual that resides in
 23   Venice, California. He is the CEO, founder, and majority shareholder of Same Day,
 24   QuickMed and Fundamentum. As stated herein, he has conducted business in Los
 25   Angeles County.
 26                                      5.                                  At all times stated herein, SDI LABS, INC, is and was a California
 27   corporation (“SDI”) located in Garden Grove, California. SDI operates a medical
 28   laboratory.
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  1                                      6.                                  At all times herein mentioned, said Defendants, and DOES 1 through
  2   50, inclusive, and each and every DOE in between, were and now are individuals,
  3   corporations, partnerships, sole proprietorships, joint ventures or associations duly
  4   licensed and/or organized and existing under and by virtue of the laws of the State of
  5   California and are affiliated with the other Defendants named herein, and bear
  6   liability for the acts complained of in this complaint in the same fashion as those
  7   Defendants.
  8                                      7.                                  Plaintiff is informed and believes, and thereon alleges, that each of the
  9   Defendants sued herein as DOES are responsible in some actionable manner for the
 10   events and happenings herein alleged, and thereby legally causing the injuries and
 11   damages to the Plaintiff as hereinafter set forth.
 12                                      8.                                  Plaintiff is ignorant of the true names and capacities of defendants sued
 13   herein as DOES 1 through 50, inclusive, and therefore sue these defendants by such
 14   fictitious names. Plaintiff will amend the complaint to allege the true names and
 15   capacities when ascertained. Plaintiff is informed and believes and thereon alleges
 16   that each of the fictitiously named Defendants is responsible in some manner for the
 17   occurrences herein alleged.
 18                                      9.                                  Plaintiff is informed and believes that Defendant Huettenbach and
 19   defendants Same Day, QuickMed and Fundamentum are, and at all times herein
 20   mentioned were, the alter egos of Defendant Huettenbach and there exists, and at all
 21   times herein mentioned has existed, a unity of interest and ownership between
 22   defendants such that any separateness between them has ceased to exist, in that
 23   defendant Huettenbach completely controlled, dominated, managed, and operated the
 24   corporate defendants and intermingled the assets of each to suit the convenience of
 25   defendant Huettenbach by placing the fixed assets of defendant SDI in the name of
 26   defendant the corporate defendants in order to evade payment of the obligations
 27   owed to creditors of defendants Fundamentum, QuickMed and Same Day.
 28                                      10.                                 Plaintiff is informed and believes that Defendants Fundamentum, Same
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  1   Day and QuickMed is, and at all times herein mentioned were, a mere shell,
  2   instrumentality, and conduit through which Huettenbach carried on his/her business
  3   in the corporate name exactly as he had conducted it previous to incorporation,
  4   exercising complete control and dominance of such business to such an extent that
  5   any individuality or separateness of the corporate defendants                                                                                                                                                                                                                                                                                                                                            and defendant
  6   Huettenbach does not, and at all times herein mentioned did not, exist.
  7                                      11.                                 Plaintiff is informed and believes that Defendants Same Day,
  8   Fundamentum and QuickMed are, and were at all times herein mentioned, agents of
  9   each other and Defendant Huettenbach.
 10                                      12.                                 Jurisdiction and venue are proper in this court as the case relates to a
 11   violation of the Defend Trade Secrets Act of 2016, 18 U.S.C. §§ 1836, et seq.
 12                                                                                                                      GENERAL FACTUAL ALLEGATIONS
 13                                      A. People v. Same Day Health: Judgment and Injunction Against Same Day
 14                                                        Health and Felix Huettenbach for Unlawful Conduct
 15                                      13.                                 To the public during the COVID 19 pandemic, Same Day was known as
 16   a COVID 19 testing company that had 55 testing sites throughout the country, with
 17   16 locations in Los Angeles County, including five in city of Los Angeles.
 18                                      14.                                 On April 20, 2022, the Los Angeles City Attorney and District Attorney
 19   filed a complaint against Same Day and Huettenbach, People v. Same Day, et al
 20   case # 22STCV13180 (the “Action”), making several allegations including that they
 21   falsely advertised that test results would be provided to customers within 24 hours,
 22   knowing that it couldn’t make that guarantee and they falsified and forged COVID-
 23   19 test results to at least 500 customers when it couldn’t provide real results within
 24   24 hours. It was also alleged that Same Day would manipulate old PDF lab reports
 25   from previous tests to forge the results.                                                                                                                                                                                                                            It was also alleged that Same Day
 26   “unlawfully targeted insured consumers, paid illegal kickbacks and submitted
 27   fraudulent claims for telemedicine consults.”
 28                                      15.                                 On April 29, 2022, a final judgment and permanent injunction was
      ______________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________



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  1   formally entered against Same Day and Huettenbach in the Action and a true and
  2   correct copy of the final judgment and permanent injunction is attached hereto as
  3   Exhibit “1” and incorporated herein as fully set forth.
  4                                      16.                                 Same Day and Huettenbach were enjoined from many acts including
  5   engaging in unlawful business practices related to the false or misleading
  6   advertisement or sale of any COVID-19 testing service, including but not limited to
  7   making any untrue or misleading claims, which are known, or which by the exercise
  8   of reasonable care should be known, to be untrue or misleading; about the
  9   Turnaround Time for delivery of results from a COVID-19 Test; the accuracy of any
 10   COVID-19 Test; and the authenticity, provenance, accuracy, or reliability of any
 11   COVID-19 Test result or Laboratory Report.
 12                                      17.                                 Same Day and Huettenbach were also enjoined from engaging in
 13   unlawful business practices, in violation of Penal Code section 502, by fraudulently,
 14   unlawfully or without any required authorization using any data in order to engage in
 15   or execute any scheme or artifice to defraud, deceive, or extort or wrongfully control
 16   or improperly obtain money including but not limited to altering, with the intent to
 17   defraud, any data, digital.
 18                                      18.                                 Huettenbach was specifically enjoined from having database/login
 19   credentials that would allow for direct access to any Medical Record, including
 20   but not limited to test results and Laboratory Reports, belonging to or
 21   associated with any of Same Day 's customers or any entity or individual
 22   seeking services from Same Day .
 23                                      B. Same Day Offers to Purchase SDI and the Parties sign an Non-Disclosure
 24                                                        Agreement
 25                                      19.                                 On or about August 19th, 2022, Same Day reached out to a business
 26   broker(“Broker”) that specialized in the sale of medical labs.                                                                                                                                                                                                                                                                                                                   Same Day showed
 27   interest in purchasing SDI labs which was listed at ten million dollars.
 28                                      20.                                 On August 23, 2022, a mutual confidentiality and non-disclosure
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  1   agreement (“NDA”) was signed by Same Day and SDI. A true and correct copy of
  2   the NDA is attached hereto as Exhibit “2” and incorporated herein as though fully
  3   set forth.
  4                                      21.                                        Same Day agreed to keep all Confidential Information in the strictest
  5   of confidence and not to disclose or reveal any Confidential Information to any
  6   person (other than such Representatives of the Receiving Party who are actively and
  7   directly involved in the discussions or the evaluation of the Business Purpose and
  8   who have a need to know such Confidential Information for the purpose of
  9   evaluating the Business Purpose and who have agreed to keep such Confidential
 10   Information confidential in accordance with the terms and provisions of this
 11   Agreement); (ii) not to use the Confidential Information for any purpose other than
 12   in connection with the Business Purpose including, but not limited to, reverse
 13   engineering, de-compiling, disassembling, altering, duplicating, modifying or
 14   creating derivative works therefrom; and (iii) not to disclose to any person (other
 15   than such Representatives of the Receiving Party who are actively and directly
 16   involved in the discussions or evaluation of the Business Purpose and who have a
 17   need to know for the purpose of evaluating the Business Purpose and who are have
 18   agreed to maintain in confidence the information disclosed hereunder in accordance
 19   with the terms and provisions of this Agreement), the fact that discussions are taking
 20   place with respect to the Business Purpose (including the status and terms of such
 21   discussions) or the fact that Confidential Information has been or may be made
 22   available to the Receiving Party and/or its Representatives
 23                                      22.                                 The NDA provided that all Confidential Information taken would have
 24   to be returned or destroyed upon 10 days written notice.
 25                                      C. Huettenbach Does not Accurately or Completely Explain the People v.
 26                                                        Sameday “Settlement.”
 27                                      23.                                 On September 8, 2022, SDI’ President Ozman Mohiuddin (“SDI
 28   President”) questioned Huettenbach about the news that Same Day settled a fraud
      ______________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________



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  1   case.                                      Specifically, SDI’s President asked for an explanation of the case and
  2   settlement. Huettenbach downplayed both the case and settlement. He stated that he
  3   settled a case, but it was a Doctors fault and that he only settled the case to close the
  4   issue as it was not worth litigating. SDI’s President further inquired about false
  5   Covid-19 test result reporting for which Huettenbach explained that “it was peak
  6   season, the testing volume was too high (more than 500,000 tests) and an error rate
  7   of 500 tests was a minor error” which now he wants to overcome.
  8                                      24.                                 Huettenbach did not mention that it was also alleged by the Los
  9   Angeles City Attorney and District Attorney that Same Day “unlawfully targeted
 10   insured consumers, paid illegal kickbacks and submitted fraudulent claims for
 11   telemedicine consults.”
 12                                      25.                                 Huettenbach did not mention or disclose that there was a judgment or
 13   permanent injunction against BOTH him and Same Day. Huettenbach did not
 14   mention that the permanent injunction could inhibit or preclude the involvement of
 15   Same Day or Huettenbach in the purchase, operation, or management of SDI.
 16   Huettenbach did not mention that Same Day and Huettenbach were subject to
 17   ongoing monitoring by the City Attorney and District Attorney.
 18                                      D. Chronology of Confidential Proprietary and Trade Secret Information is
 19                                                        Transferred by SDI to Same Day and its affiliate Companies.
 20                                      26.                                 On September 15, 2022, Huettenbach and the Same Day employees
 21   visited SDI for the due diligence process. SDI disclosed confidential trade secret
 22   information which included the SDI testing menu and compatibility with turnaround
 23   times (TAT), technology and data, clinical and laboratory software, Lab OS SDI’s
 24   in-house Laboratory Information Management System (LIMS), future testing goals,
 25   R&D, Lab Developed tests, compliance, sales and marketing, supplier and vendor
 26   contracts, Insurance payor in-network contracts, billing and finance details.
 27                                      27.                                 On September 16, 2022, SDI’s President met with Huettenbach at a
 28   building in Los Angles wherein the outer logo stated “QuickMeddx” but inside there
      ______________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________



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  1   were Same Day Health posters. In that meeting, Huettenbach introduced himself and
  2   he told SDI’s President that he owns QuickMeddx along with Same Day. He
  3   represented that he was “into the wellness business along with COVID-19 testing.”
  4                                      28.                                 Huettenbach claimed he received almost 5000 patients per day
  5   altogether from all his Same Day Health Clinics locations whereas in the peak season
  6   they test almost 20,000 patients per day. In this meeting,
  7                                      29.                                 On September 17, 2022, Huettenbach represented that closing on the
  8   sale of SDI would close in 3 to 4 weeks. Huettenbach knew that his representation
  9   would induce SDI to further divulge all of its trade secrets.
 10                                      30.                                 On September 18, 2022, Huettenbach shared the first draft of the term
 11   sheet that identified QuickMed dba QuickMeddx as a buyer, which Plaintiff is
 12   informed and believes suggests that Same Day and Felix knew that they have to use
 13   QuickMed as using Same Day as the acquiring entity would attract attention by the
 14   Monitor designated in People v. Same Day.
 15                                      31.                                 On September 22, 2022, Jeff Nelson from Same Day organized a
 16   meeting involving SDI proprietary, confidential and trade secret information
 17   regarding inventory management and Intelligent Billing1 with the SDI and Same Day
 18   teams. SDI advised that no one could take screenshots or take any of the information
 19   that was being presented that day.
 20                                      32.                                 In violation of SDI’s instructions, Jeff Nelson took screenshots of SDI’s
 21   billing trade secrets without consent. During the meeting on September 9, the SDI
 22   team discussed SDI Lab’s technological and economic infostructure, SDI’s
 23   proprietary mobile lab unit, SDI’s in-house lab OS (Laboratory Information
 24   Management System LIMS), digital lab assistance application (Mobile App), SDI’s
 25   in-house software GateKeeper Version 2.0, inventory management and intelligent
 26   billing. On September 23, 2022, SDI answered questions for Same Day regarding
 27

 28
      1
           (Proprietary software for medical insurance billing for lab testing)
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  1   SDI Labs billing relating to in-network insurance payor contracts.
  2                                      33.                                 A special drop box was created to include all the SDI confidential
  3   insurance contracts to answer Same Day’s questions about SDI Labs in-network
  4   insurance billing contracts upon the request of Felix.
  5                                      34.                                 On September 22, 2022, Huettenbach talked about the valuation of the
  6   acquiring company.                                                                                                                Huettenbach sent an excel sheet of the valuation of the
  7   acquiring company. Huettenbach claimed that his company’s revenue was
  8   approximately $200,000,000.00. He claimed that his valuation of his company,
  9   Fundamentum, would be worth $250,000,000.00 based on revenue. Huettenbach
 10   then claimed the goal was to have a billion-dollar company in the next few years.
 11                                      35.                                 At that time SDI had most insurance payor in-network contracts,
 12   CLIA/CAP licensure, instrumentation, minority owned status, mobile lab unit would
 13   be provided as an asset, and no real debt.
 14                                      36.                                 Given the representations made by Huettenbach on September 22,
 15   2022, SDI felt comfortable enough to discuss Confidential Information such as the
 16   software license services opportunities for direct to consumer, patient intake at
 17   multiple locations, digital lab assistant (DROID) mobile application, and Gatekeeper
 18   Software. SDI revealed research and development of lab developed tests for DTC of
 19   regulatory approved tests comprising of EUA approved at-home rapid antigen test,
 20   it’s selling pricing and software service fee.
 21                                      37.                                 Huettenbach wanted QuickMeddx claims to be reviewed by SDI Labs
 22   which was not part of the contemplated transaction. Huettenbach wanted SDI s’
 23   billing company, Intelligent Billing, to handle the claims.
 24                                      38.                                 SDI was concerned that the deal was not closing but a lot of SDI trade
 25   secret information was flowing to Same Day and Huettenbach’s team. So, on
 26   September 29, 2022, SDI’s President sent Huettenbach and his team a deal structure
 27   to ensure the timely acquisition of SDI. Huettenbach responded with details of how
 28   to close the deal which included producing the financials of Same Day and
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   1   QuickMed. However, oddly, on that same day, Huettenbach revealed a spreadsheet
   2   of a company known as Fundamentum. Although not disclosed to SDI at the
   3   time, Fundamentum did not exist but later Fundamentum was designated as the
   4   company to acquire SDI.
   5                                      39.                                 On October 11, 2022, Huettenbach stated that “based on the language
   6   used [in the proposed term sheet for the SDI acquisition] it appears that we are trying
   7   to do an asset purchase, which I am confused by. To inherit the insurance contracts,
   8   we need to take over the entity (share purchase).”
   9                                      40.                                 QuickMed was dropped as the acquisition company and was replaced
  10   by a yet to be formed company, Fundamentum.
  11                                      41.                                        On October 18, 2022, Huettenbach, his staff, the Broker and SDI’s
  12   team had an in-person follow-up meeting at SDI to discuss the terms of the term
  13   sheet. Meanwhile, Michael Savvides from Huettenbach’s team, reached out to Sumi
  14   Thomas and Yashashree Shende of SDI and who then shared SDI’s current testing
  15   methodology and how SDI used an open systems architecture, where SDI used
  16   instruments that are not bound to a particular reagent, which in turn reduced price to
  17   a great degree and made the testing process feasible while maintaining the quality of
  18   the test. SDI’s team also shared with Mr. Savvides the COVID-19 IFU that SDI Labs
  19   currently uses.
  20                                      42.                                 On October 26, 2022, Huettenbach wanted SDI Labs to integrate SDI’s
  21   software with BerryDx, so that they can send 4000 samples per month. This could
  22   not be accomplished until there was a viable lab to lab service agreement between
  23   the two labs. Additionally, Huettenbach asked his team members to work with the
  24   SDI team on the SDI Labs Software integration part.
  25                                      43.                                 On November 1, 2022 SDI had an SDI-BerryDx integration Google
  26   meeting for Covid-19 testing in which QuickMeddx employees met with SDI
  27   employees. On November 8, 2022 SDI completed full API integration required for
  28   COVID-19 testing between Berry DX’s software application and SDI Lab’s
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   1   GateKeeper Software application.
   2                                      44.                                 On November 15, 2022, as expected after the full software integration,
   3   the first batch of COVID-19 samples (4k samples for the month of November) was
   4   supposed to come, however, the operation was appropriately aborted as the term
   5   sheet was not signed. Again, there was no lab-to-lab service agreement yet as the
   6   sale had not been completed. Again, it would not be complaint with the law to
   7   proceed without a lab-to-lab service agreement.
   8                                      45.                                 On November 17, 2022, full software integration started.                                                                                                                                                                                                                                                                                                                     Shortly
   9   thereafter, there was a dispute as Huettenbach, and his team wanted third party
  10   approval for change of ownership of all in network health insurance payor contracts
  11   which SDI do not want to occur. Such contracts were very difficult to procure at that
  12   time and had economic value. SDI President felt that Huettenbach crossed the line
  13   and thus SDI wanted to pull out of the deal given the risk for third party notification
  14   for change of ownership. SDI President, Mr. Mohiuddin, said that he wanted to pull
  15   out of the deal and that he wanted the return or destruction of his company’s
  16   proprietary information.
  17                                      46.                                 Huettenbach made statements intended to convince SDI that the deal
  18   should still go through. On November 21. 2022, Heuttenbach stated that he knew
  19   that the change of ownership notifications would harm SDI if Same Day pulled out
  20   of the deal. He assured SDI that he is willing to adjust the terms of the deal so that
  21   this does not happen. He agreed that Same Day would place $2.5 million in Escrow
  22   upon signing of the Term sheet and authorize another 2.5 million in stock to be
  23   transferred to Escrow upon closing. The only contingency of closing that
  24   Huettenbach assured SDI was that SDI notifies insurance payors as required per
  25   respective contract for the change of the ownership and continue to cooperate with
  26   Same Day for the ownership transfer that the payor would require. Furthermore, he
  27   assured SDI that the closing would occur 30 days after the payor notifications are
  28   sent, regardless of the outcome of those notifications.
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   1                                      E. The Term Sheet is Signed
   2                                      47.                                 Based on the representations of Huettenbach, on November 30, 2022,
   3   SDI signed a term sheet (“Term Sheet”) wherein Fundamentum would acquire SDI
   4   on the terms and conditions set forth in said term sheet. Unbeknownst to SDI at the
   5   time, Fundamentum was not conducting business and had only been incorporated on
   6   November 29, 2022. The Term Sheet locked SDI into dealing exclusively with
   7   Fundamentum.                                                                                                    The agreement to deal exclusively with Heuttenbach and his
   8   companies was a change in position based on Heuttenbach’s representations that the
   9   deal was done but for the contingency of notifying insurance payors. At the time,
  10   SDI had other reasonable offers and suitors. SDI did not deal any further with
  11   potential purchasers as a result of the representation by Heuttenbach that the deal
  12   was done but for the single contingency.
  13                                      48.                                 The Term Sheet provided payment as follows: “$3,500,000.00 of cash
  14   (the “Cash Consideration”), and (ii) 100,000 shares of common stock of
  15   Fundamentum which represents 0.81% of the expected fully diluted capitalization of
  16   Fundamentum as of the Closing Date.” Unbeknownst to SDI, Fundamentum was
  17   just incorporated, and Plaintiff is informed and believes that Fundamentum had no
  18   assets and had not conducted any business as of yet.
  19                                      49.                                 Huettenbach then verbally and in writing assured SDI’s President that
  20   the purchase of SDI by Fundamentum was done with no real closing contingencies.
  21                                      50.                                 On December 5, 2022, based upon the representation by Huettenbach
  22   that the acquisition deal was done and upon his request and instruction, SDI sent
  23   their prepared notification letter to insurance payors to the in-house counsel for Same
  24   Day and Huettenbach for their review prior to sending to the carriers.
  25                                      51.                                 On December 6, 2022, at or about 2:26 p.m., Felix Heuttenbach
  26   texted Mr. Mohiuddin that he agreed that the deal for the purchase of SDI was
  27   complete. He said that Fundamentum has entered into an agreement to purchase SDI
  28   and that this news was to be shared with all SDI employees. Based on the
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   1   representations of Mr. Heuttenbach that the deal was done, including the earlier
   2   representation that the only contingency was the insurance notifications, and the
   3   representation that the deal was now done, SDI sent Defendants their protected client
   4   list containing critical contact information for the insurance payors. This information
   5   allowed Defendants to charge insurance companies for the testing that SDI had
   6   previously performed.
   7                                      52.                                 On December 7, 2022, Same Day’s counsel insisted that SDI send out
   8   the form notice letter to insurance payors. In reliance on the representation that the
   9   deal was done, SDI complied and also sent out the notification letters.
  10                                      F. Huettenbach publicly declares he is the owner of SDI and then Steps Up
  11                                                        the Flow of Confidential Information to Same Day and its Affiliates
  12                                      53.                                 On December 9, 2022, Huettenbach announced to the SDI employees
  13   via video conference that he is the owner of SDI and that everyone has jobs and that
  14   they must work with Fundamentum which was created November 29, 2022. At or
  15   about the same time, Heuttenbach, Same Day and Fundamentum funded escrow a
  16   portion of the purchase price.
  17                                      54.                                 Also in reliance on the representations of Mr. Heuttenbach that the deal
  18   was done, on December 9, 2022 the change of ownership notifications that had been
  19   previously provided to Defendants’ counsel on or about December 5 (discussed
  20   above), were sent to the insurance carriers upon the urgent insistence of Same Day
  21   and Huettenbach. This was an event with incredible ramifications for SDI as SDI
  22   had been thoroughly convinced by Huettenbach and his team that the sale was closed
  23   as escrow had been funded so there was no longer a risk to SDI to send the change of
  24   ownership notification out to insurance payors. Huettenbach made it clear that
  25   sending the subject notifications and waiting for 30 days was merely the last
  26   administrative detail for the sale to close.
  27                                      55.                                 SDI relied on those representations made by Huettenbach so said
  28   notifications were sent as requested. The notifications were sent out to the insurance
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   1   contacts that make up the protected client list that was provided to Defendants on or
   2   about December 6. This client list was not provided to Defendants prior to the
   3   representations that the deal was done, despite other trade secret information being
   4   shared between the parties under the Non-Disclosure Agreement.
   5                                      56.                                 Also, in reliance of Huettenbach’s representation that the deal was done
   6   and that he was the owner of SDI, on December 10, 2022, SDI shared the tests menu
   7   of COVID-19, Flu a, Flu b, RSV Combo test in a group text between Huettenbach
   8   and his team.
   9                                      57.                                 On December 14, 2022, upon request of the Same Day Team, and in
  10   further reliance on the representation that the deal was done, SDI provided to Same
  11   Day additional trade secret customer list with contact information (186 customers).
  12                                      58.                                 On December 15, 2022, Same Day, without the permission of SDI,
  13   copied SDI’s website and other proprietary information and posted it online:
  14   https://www.prnewswire.com/news-releases/sameday-health-launches-single-swab-
  15   test-for-covid-19-flu-and-rsv-301704617.html
  16                                      59.                                 Plaintiff is informed and believes that Quickmed, without permission of
  17   SDI, copied SDI’s website and other proprietary information and posted it online:
  18   https://www.quickmedca.com.
  19                                      60.                                 Plaintiff is informed and believes that Sameday, without permission of
  20   SDI, copied SDI’s mobile application format and the information contained therein
  21   https://www.sameday-testing.com.
  22                                      61.                                 Gabriel Reches from Defendant QuickMeddx reached out to the
  23   President of SDI in an email December 16, 2022 copying Yashashree Shende from
  24   SDI Labs Inc., Jason Balovlenkov-Smith from 911 Health, Jeff Nelson from
  25   QuickMeddx and Timofei Bondarev from BerryDx requesting SDI Labs Software
  26   integration for processing the samples for RSV and Influenza Combo Panel Test and
  27   discussing the documentation required for the upcoming partnership. In further
  28   reliance of Huettenbach’s declaration that he was the owner of SDI and that the sale
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   1   was complete, the information was provided.
   2                                      62.                                 Also on December 16, 2022, QuickMed contacted SDI and stated that
   3   the 911 lab, which is apparently affiliated with Quick Med, has informed QuickMed
   4   that they plan to offer RSV + Influenza (A & B) panels through insurance. The
   5   representative of QuickMed stated the following to the President of SDI: “we'll look
   6   to you to share the assay that will be used to process this panel so that we can include
   7   that in the lab report.”                                                                                                                      Based on the representations of Mr. Huettenbach, SDI did
   8   produce the request assays.
   9                                      63.                                 On December 19, 2022, SDI then also revealed confidential
  10   information relating to the SDI Lab’s finance & accounting processes, AR billing by
  11   Insurance provider, Payroll processes and Inventory accounting to Huettenbach’s
  12   team
  13                                      64.                                 On December 21, 2022. Huettenbach’s team met with SDI team
  14   members Sumi Thomas and Yashashree Shende to discuss more trade secret
  15   information including reagent costs and a spreadsheet entitled SDI LDT Reagent
  16   Cost Analysis.xls.
  17                                      65.                                 On December 22, 2022, Matthew Perasso emailed Sumi Thomas from
  18   the SDI team to help them design a possible validation testing plan menu depending
  19   on SDI existing instrumentations. Information was uploaded in Dropbox as
  20   spreadsheet titled 'Instrument Test Menu &Validation Workflow.xls'
  21                                      66.                                 On January 3, 2023, Gabriel Reches of the Same Day team texted SDI
  22   employee Yashashree Shende, to obtain a Netflix SLA (Lab Service Agreement) and
  23   requested signatures from SDI’s President. Furthermore, Mr. Reches requested API
  24   access for BerryDx to SDI Lab’s GateKeeper. The SDI President signed Pandadoc
  25   agreement for Netflix. This meant that Defendants were able to perform testing for
  26   the company Netflix. During the COVID-19 pandemic, it became important for film
  27   and tv producers to have on-scene rapid testing so as not to slow down production.
  28   Based on the representations of Heuttenbach that the deal for SDI had been
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   1   completed, SDI President, Mr. Mohiuddin, signed the Netflix LSA.
   2                                      67.                                 On January 4, 2023, upon Same Day’s request, SDI sent Same Day the
   3   SDI monthly expense budget in an email. Also on that day, Yashashree of SDI
   4   texted to Mr. Reches of Same Day SDI’s saliva collection method details that were
   5   shared for the Netflix Lab Service deal. This was data necessary for the performance
   6   of the contract with Netflix that was handed over in reliance on Mr. Heuttenbach’s
   7   continued representation that the deal with SDI and Defendants was done. In the
   8   meanwhile, SDI’s IT team along with SDI’s employee Yashashree Shende worked
   9   on sharing QR codes with Same Day’s team in an e-meet including Timofei
  10   Bondarev, Vince Roy, Oscar de Arriba, Cristian Alverez from BerryDx and Jeff
  11   Nelson from QuickMeddx to order COVID-19 samples through API integration.
  12   The QR codes are found on the boxes of the sample collection kits. The QR codes
  13   help enable efficient tracking of the samples that aids in processing time. Integration
  14   was completed on January 10, 2023, and Yashashree sent an email 01-06-2023 to
  15   Gabriel Reches with signed Lab Service Agreement for testing Hollywood SDI SLA
  16   20-400 samples per month.
  17                                      68.                                 As of January 9, 2023, Heuttenbach approved the release of part of the
  18   purchase price for SDI that had been held in escrow. SDI never received the entire
  19   purchase price. Plaintiff is informed and believes that Huettenbach was satisfied
  20   with the transfer of SDI’s trade secrets to the extent that he knew this transaction was
  21   irreversible. Based on that belief which was shared with SDI, Huettenbach, on
  22   behalf of Fundamentum and his new declared company, SDI, released funds to SDI
  23   to effectively consummate the sale.
  24                                      G. Escrow Agreement and Delays in Closing Develop after Confidential
  25                                                        Information is Obtained and Used by Same Day and its Affiliates
  26                                      69.                                 On January 9, 2023, SDI and Huettenbach, on behalf of Fundamentum,
  27   signed an agreement and escrow instructions wherein it was acknowledge that
  28   “aggregate                                                                funds                                         of                         Three                                           Million                                                  Five-Hundred                                                                                 and                                Four                                      Thousand
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   1   ($3,504,000.00) Dollars pursuant to the parties TERM SHEET FOR THE
   2   POTENTIAL ACQUISITION OF SDI LABS, INC. dated November 30, 2022 and a
   3   Stock Purchase Agreement to be provided and any amendments thereto between
   4   Fundamentum Health (BUYER) and SDI Labs, Inc. (SELLER) . A true and correct
   5   copy of the Escrow Agreement and Instructions (“Escrow Agreement”) dated
   6   January 9, 2023, is attached hereto as Exhibit “3” and incorporated herein as though
   7   fully set forth.
   8                                      70.                                 The Escrow Agreement authorized the immediate release of the sum of
   9   Two Million Seven Hundred Eighty-Six ($2,786,000.00) Dollars payable to the
  10   Seller (SDI Labs, Inc.).
  11                                      71.                                 On January 9, 2023, the Broker stated, that “we must have effective
  12   closing on 01-10-2023. The team should sign the Escrow Closing Instructions, SDI
  13   must sign the closing bill of Sales document that he attached, the buyer shall deposit
  14   another $504,000 to the Escrow and deposit another $150,000 (or more) for
  15   operating the monthly business expense as discussed with Felix. After the closing,
  16   the remaining documents could be signed (definitive agreement, officer’s
  17   resignation, board meeting minutes, issuance of SDI Lab’s share certificates, and
  18   other issues related to property and equipment.”
  19                                      72.                                 The Broker then sent an email January 10, 2023 to Same Day’s CFO,
  20   CEO, in-house counsel, Jeff Nelson and SDI’s President, stating that he just received
  21   a message that the Same Day that it unilaterally stopped release of funds from
  22   escrow to the SDI, and most importantly has stopped funding the SDI checking
  23   account as per term sheet and the verbal agreement between the parties as the final
  24   definitive Stock Purchase Agreement has yet not been signed.
  25                                      73.                                 The Broker further stated that “holding of funds will breach all plans
  26   that we have agreed upon. Whereas the buyer has been provided with a proposed
  27   draft of the definitive agreement for 2 months without the buyer proposing any
  28   alternative or objections.”                                                                                                                                                 Therefore, the broker proposed that the purchase
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   1   agreement be signed “today” (January 10, 2023) and release $150,000 to SDI
   2   checking account just for the sake of operational business cost as this delay is
   3   causing harm to the business.
   4                                      74.                                 SDI’s President weighed in on the sudden delay by stating to Same Day
   5   that ‘meanwhile your team members have already started using SDI assets,
   6   financials, HR, intellectual property and even started marketing directly to SDI
   7   customer list.”
   8                                      75.                                 SDI also informed the Same Day team that “the only term mutually
   9   agreed for release of funds from Escrow was 30 days' timeline form notification to
  10   the insurance payors, which we have provided with proof for 12-10-2022. This
  11   leaves us in a vulnerable and in a compromising position with unnecessary delay on
  12   release of funds from escrow. As agreed, please send instructions to release funds
  13   with a signed bill of sale agreement. Post release of funds you can take your time
  14   extension for more post-closing documents. Please confirm this is an acceptable
  15   approach.”
  16                                      76.                                 Huettenbach replied by stating that that he would participate in a call.
  17   The call occurred on January 10, 2023, and Same Day and SDI agreed that the
  18   closing shall occur after the final Stock Purchase Agreement is signed and this
  19   should happen no later than January 13, 2023. Same Day agreed to deposit $150,000
  20   for SDI’s business operational cost and another $504,000 to escrow for closing the
  21   funding purposes. Buyer was to propose new/modified corporate documents by
  22   January 13, 2023.
  23                                      77.                                 Based on such assurances, the confidential information continued to
  24   flow from SDI to the Same Day team in anticipation of closing on January 13,
  25   2023. Afterall, the terms were agreed, and the signing of the agreement was a mere
  26   formality at this point.
  27                                      78.                                    On January 16, 2023, the Broker stated to the Same Day team that “we
  28   received a 60-page long [purchase] agreement in which the pricing is wrong and
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   1   have additional contingencies which are not mentioned in the Term Sheet.”
   2   Therefore, the Broker suggested that the closing be made on an easier version of the
   3   agreement. The Broker issued a contingency removal and the broker called for a
   4   closing on January 19, 2022. This contingency was not signed by Huettenbach.
   5                                      79.                                 Fundamentum continued to push a complicated reverse triangular
   6   merger agreement which was unconscionable. It seemed like suddenly something
   7   happened to stop the momentum of this transaction.                                                                                                                                                                                                                                                                                      SDI questioned why this
   8   agreement was not produced in early December before all the Confidential
   9   Information was provide to and used by Same Day.
  10                                      80.                                 On January 18, 2023, Fundamentum explained that the reverse
  11   triangular merger transaction had to be used as it was suspected that SDI’s President
  12   was not the only shareholder as evidenced by a capitalization sheet indicating several
  13   other owners existed in the drop box created by the Broker. SDI explained the
  14   capitalization sheet was prepared for a transaction that was not completed and thus
  15   SDI was still exclusively owned by its President.
  16                                      81.                                 Notwithstanding the foregoing, the Same Day team chose not to believe
  17   the representations of SDI’s President and felt that the reverse triangular merger was
  18   thought to be the safest way for Fundamentum to complete the transaction. It is
  19   notable that capitalization sheet was in the hands of the Same Day team before the
  20   Term Sheet was executed on November 30, 2022.
  21                                      82.                                 Also on January 18, 2023, the Same Day team requested, and SDI
  22   agreed on inter-lab Validation of the Bioeksen RPP Panel (23 organisms).
  23   Representative from Bioeksen sent by Same Day’s team for the validation of their
  24   used kit completed validation at SDI’s facility on January 27 and 28, 2023. SDI Lab
  25   tech training on the RSV combination test sent from Bioeksen were also scheduled.
  26                                      83.                                 On January 20, 2022, the Broker brought this to Huettenbach’s
  27   attention copying officers of the Same Day team and SDI’s President, that Same
  28   Day’s team is approaching Seller’s existing clients as proclaimed new owners of SDI
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   1   already based on representations of Fundamentum and that is a breach of NDA
   2   agreement of the NDA.
   3                                      84.                                 The Broker also suggested cooperating in finishing the Definitive
   4   Agreement as soon as possible as the delays are damaging for the business, its
   5   employees, and customers. However, SDI faced a large and confusing agreement
   6   that was unconscionable and required a lot of time to digest, understand and edit.
   7   Most importantly, the new merger agreement was inconsistent with the original
   8   Term Sheet and had numerous onerous additional conditions.
   9                                      85.                                 SDI advised the Same Day team that “this [situation] is leaving the
  10   company [SDI] and its employees' future in limbo, we are at a crossroads and
  11   directionally confused how to move forward in regard to employees, suppliers and
  12   customers. We started in a positive and cooperative manner.”
  13                                      86.                                 Even though SDI believed that the transaction was complete, SDI
  14   sought out special counsel to address the strange change in direction by
  15   Fundamentum in attempt to close the transaction as soon as possible.
  16                                      87.                                 After attempting to persuade that a stock purchase would be an easier
  17   route to effectuate the sale of SDI, SDI relented and took the time necessary to
  18   educate the SDI team on the details of the lengthy merger agreement. The submitted
  19   reverse triangular merger agreement was also incomplete and several key documents
  20   were missing as of February 6, 2023.
  21                                      88.                                 By early February SDI’s President was under a lot of stress at this time
  22   as he worried that his company would fail while waiting for the transaction to be
  23   completed. Customers, employees, and insurance payors were complaining about the
  24   prolonged delay in Fundamentum taking over.
  25                                      89.                                 On February 5, 2023, SDI sent over a draft of the Merger agreement
  26   which contained the following paragraph drafted by SDI’s attorney under the
  27   heading or Representations and Warranties: “Parent warrants and represents that the
  28   100,000 shares of common stock of Fundamentum Health, Inc. to be issued to
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   1   Company are valued by Purchaser at $2,025,000.00 and represents 0.81 percent of
   2   the expected fully diluted capitalization of Fundamentum Health, Inc. as of the
   3   Closing Date. The stock issued to Company is not subject to any encumbrances or
   4   restrictions other than what is stated in the bylaws of Parent.” Said Paragraph was
   5   later rejected by Fundamentum.
   6                                      90.                                 After several meetings between counsel for Fundamentum and SDI, on
   7   February 22, 2023, SDI’s counsel sent Fundamentum (1) a proposed “final” redline
   8   draft of the Merger agreement; (2) the partially executed Restrictive Covenant
   9   Agreement and Consultant Agreement; (3) fully executed corporate documents; and
  10   (4) the Secretary of State statement of Good Standing for SDI Labs, Inc SDI’s
  11   counsel also request Fundamentum send the remaining documents relating to the
  12   merger, including the schedules, exhibits, pre-closure statement and stock transfer
  13   agreement.                                                                     He also requested the forms for the CHOW (change of ownership)
  14   requirements for state of California, CLIA laboratory services, CAP, Center for
  15   Medicaid and Medicare Services, and Private insurance companies and the W-9 from
  16   Fundamentum.
  17                                      91.                                 The next day, the response from Fundamentum’s counsel was “Thanks,
  18   John. We are reviewing and will get back to you on scheduling a call to knock out
  19   any remaining issues.” Counsel for Defendants did respond to the submitted
  20   documents and discussions ensued about the documents.
  21                                      92.                                 On March 2, 2023, the partially executed merger agreement along with
  22   other documents necessary for the transfer of ownership of SDI was submitted by
  23   SDI’s counsel.
  24                                      93.                                 On March 8, 2023, Mason Dragos of the Same Day team sent a text to
  25   SDI’s President for a lab-to-lab reference agreement between QuickMeddx and SDI.
  26   Also Mr. Dragos mentioned that he will send some Same Day samples to SDI.
  27                                      H. Fundamentum Claims it is Winding Down but also Claims it is
  28                                                        “Reassessing” the Term Sheet
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   1                                      94.                                 On March 24, 2023, SDI received an email from Fundamentum’s
   2   counsel which stated:
   3                                         “As you may have heard, over the last several weeks, certain events have
   4                                      occurred (namely, that Fundamentum is winding down its enterprise)
   5                                      that have led Fundamentum to reassess the non-binding terms contained
   6                                      in the Term Sheet. The Term Sheet, which I’m sure you know, expressly
   7                                      states that the terms contained therein (other than those specifically
   8                                      identified as Binding Provisions) are non-binding in nature and do not
   9                                      operate to create or impose any legal obligation upon any party. In other
  10                                      words, the parties are able to change/revise/reconsider any of the non-
  11                                      binding terms until the definitive agreements are entered into. The non-
  12                                      binding nature of term sheets of this type are non-controversial,
  13                                      commonly utilized, and accepted by courts across the country.
  14                                      95.                                 The foregoing was traumatic and shocking news but why was
  15   Fundamentum so defensive about the “non-binding” terms of the Term Sheet?
  16   Escrow was contacted by Fundamentum’s counsel who stated that the parties were
  17   still negotiating. SDI wondered how that would occur if Fundamentum was already
  18   in the process of winding down while the CEO suddenly left Fundamentum and the
  19   United States!
  20                                      96.                                    On April 11, 2023, SDI’s attorney received a stern email from counsel
  21   for Fundamentum: “We have been instructed by our client to resolve this matter
  22   expeditiously given Fundamentum’s current state and the baseless claims and
  23   allegations we were told Oz has made and continues to make against Felix
  24   [Huettenbach]. As such, we provided the terms of Fundamentum’s counteroffer for
  25   review by Oz [SDI’s President] and you in the email below.                                                                                                                                                                                                                                                                                                                                                                      Given the
  26   circumstances, we need Oz’s response to Fundamentum’s counteroffer by 5:00 p.m.
  27   PT on Thursday, April 13, 2023. If we do not receive Oz’s response from you or
  28   Oz by such time, we will deem such failure to respond to be a rejection of our
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   1   counteroffer and termination of our discussions regarding the proposed transaction.
   2   We will then proceed as stated in our prior e-mail.”
   3                                      97.                                 Huettenbach had previously stated to SDI’s President that they would
   4   work directly with each other to resolve this catastrophic problem. Plaintiff is
   5   informed and believes that SDI’s Confidential Information was and is spread out to
   6   various Same Day affiliates.
   7                                      98.                                 SDI employees were surprised about Fundamentum’s decision to
   8   terminate negotiations after Huettenbach’s declaration that he was the owner of SDI.
   9   The SDI employees were and are making arrangements to seek other employment as
  10   the attempted acquisition mortally wounded SDI. With what the Defendants did to
  11   SDI, it was no longer a marketable company to be sold for any price near the original
  12   purchase price.
  13                                      99.                                 On April 14, 2023, SDI’s attorney responded to the email from
  14   Fundamentum as follows:
  15                                      “As I write this email, I am still with my client discussing what has transpired
  16                                      and what to do next. My client has reached out to Felix on several occasions
  17                                      to resolve our dispute. It was agreed that discussion to resolve this matter was
  18                                      to occur only between Felix and Oz.                                                                                                                                                                                                               Unfortunately, Felix had failed to
  19                                      respond to the serval attempts by Oz to talk about this matter. It seems that
  20                                      Felix is out of the country, and he is not responding to OZ. This causes us a
  21                                      lot of concern as I have just been informed that Fundamentum Health, Inc is
  22                                      no longer conducting business. This is a shock as we were very recently
  23                                      advised that Fundamentum was properly capitalized, and the stock
  24                                      offered to OZ had a value of at least $2,000,000.00.” (Emphasis Added).
  25                                      100. Even though Fundamentum’s counsel stated in her March 24, 2023 that
  26   “Fundamentum is winding down its enterprise” she changed the story on April
  27   15, 2023 to state that “while you may have just learned that Fundamentum is
  28   contemplating winding down its businesses.
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   1                                      101. In her April 15, 2023, email, Fundamentum’s counsel stated: “in any
   2   event, we understand from your email [cited above in paragraph 93] below that your
   3   client has rejected Fundamentum’s most recent offer and decided not to proceed with
   4   the transaction. As such we will proceed to instruct the escrow agent to release the
   5   funds held in escrow to Fundamentum and to close the account. It is unfortunate that
   6   the parties could not come to an agreement, however, Fundamentum wishes Oz well
   7   in any future endeavors.”
   8                                      102. Not surprisingly, Osman Mohiuddin, the President of SDI, did not feel
   9   that Fundamentum put SDI in a position to have any “future endeavors” and he did
  10   not know if Fundamentum really ever existed.
  11                                      103. On May 1 and May 2, 2023, counsel for SDI sent counsel for
  12   Fundamentum two letters demanding the return or destruction of SDI’s Confidential
  13   Information. The letters also stated that SDI is entitled to know if Same Day, its
  14   affiliated companies, partners, vendors, contractors, or customers have used and is
  15   still using any of SDI’s Confidential Information. If that has occurred, we expect an
  16   honest response indicating specifically: (1) what Confidential Information was used;
  17   (2) the name and contact information of the persons and entities that used or still uses
  18   the Confidential Information; and (3) the time period in which said Confidential
  19   Information was used. A true and correct copy of both letters are collectively
  20   attached hereto as Exhibit “4”and incorporated herein as though fully set forth.
  21                                                                                                                                                          FIRST CAUSE OF ACTION
  22                                                                                                                                                                                                                         FRAUD
  23                                                        (Against Felix Huettenbach and Same Day Technologies, Inc.)
  24                                      103. Plaintiff incorporates paragraphs 1 through 103 as though fully set forth
  25   herein.
  26                                      104. On or about September 16, 2022, SDI’s President met with Huettenbach
  27   at the QuickMeddx building in Los Angeles.
  28                                      105. SDI’s President asked Huettenbach about a recent case against Same
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                                                                                                                                                                                      24
                                                                                                                                                                           FIRST AMENDED COMPLAINT
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   1   Day that was in the news. Specifically, SDI’s President asked for an explanation of
   2   the case and the settlement. SDI was prompted to make an inquiry due to a news
   3   report that stated Same Day had to pay a $22.5 million settlement to the City of Los
   4   Angeles for falsifying lab results.
   5                                      106. Huettenbach downplayed the settlement as he stated that it was all the
   6   fault of the doctor involved (Dr. Jeff Toll, a Los Angeles based doctor). Huettenbach
   7   stated that he only settled the case to close the issue as it was not worth litigating.
   8                                      107. Huettenbach told SDI's President that the reporting about the false
   9   COVID 19 result was inaccurate and explained that “It was peak season, testing
  10   volume was too high (more than 500,000 tests) and an error rate of 500 tests was a
  11   minor error which he now looked to overcome.).” As a result of the foregoing
  12   statements by Huettenbach, SDI’s President was induced to believe the
  13   aforementioned representations by the CEO of a very successful company so the
  14   President of SDI accepted the representations of Mr. Huettenbachas being true.
  15                                      108. Huettenbach had a legal duty to tell the whole story. The truth is that
  16   Huettenbach did not tell the whole story to SDI’s President, nor did he tell an
  17   accurate story.
  18                                      109. The truth was that there was no mere monetary settlement as
  19   Huettenbach and Same Day stipulated to both a judgment and an injunction as set
  20   forth in paragraphs 10 through 15 of this complaint.
  21                                      110. Huettenbach did not mention all or even most of the claims pending
  22   against Same Day. For example, Huettenbach did not mention that both he and
  23   Same Day were accused of “unlawfully target[ing] insured consumers, pa[ying]
  24   illegal kickbacks and submit[ing] fraudulent claims for telemedicine consults” as set
  25   forth in paragraphs 10 through 15 of this complaint. Huettenbach did not mention to
  26   SDI's president that both he and Same Day are subject to many strict injunctions and
  27   ongoing monitoring by the City Attorney and District Attorney. Huettenbach did not
  28   mention that a violation of the injunction in place could preclude the contemplated
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                                                                                                                                                                                      25
                                                                                                                                                                           FIRST AMENDED COMPLAINT
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   1   purchase of SDI or cause Huettenbach to step down as the President and CEO of
   2   Same Day.
   3                                      111. The most egregious act of fraudulent concealment was that Huettenbach
   4   did not to mention that he personally was enjoined from having database/login
   5   credentials that would allow for direct access to any Medical Record, including but
   6   not limited to test results and Laboratory Reports, belonging to or associated with
   7   any of Same Day’s customers or any entity or individual seeking services from Same
   8   Day. Plaintiff believes that this fact was not reported by the media.
   9                                      112. Since Huettenbach intentionally undertook to tell only part of the story
  10   concerning the case and settlement, he had a legal obligation to Plaintiff to provide a
  11   complete and accurate statement of both the case and the settlement which were
  12   material issues since SDI planned to sell itscompany to Defendants. Furthermore,
  13   Heuttenbach’s representation that the case against him and Same Day was the result
  14   of statistical error was an affirmative misrepresentation that required the disclosure
  15   of the additional, purposefully withheld facts.
  16                                      113. Heuttenbach made other misleading statements upon which SDI relied.
  17   On or about December 6 through 7, 2022, Mr. Huettenbach stated to SDI’s President
  18   that the purchase of SDI would be complete upon SDI handing over the insurance
  19   payor information. In reliance on these assertions, SDI revealed to Defendants their
  20   trade secret client list of insurance payors
  21                                      114. When Huettenbach made these representations, he did so in both his
  22   individual and professional capacity. When Huettenbach made these representations,
  23   he made them with the intent to deceive and defraud SDI and to induce SDI to
  24   proceed in reliance on the representations in order for the sale of the SDI to be
  25   complete and in order to procure the trade secret information of SDI.
  26                                      115. Plaintiff, at the time the representations were made by Defendant at the
  27   time Plaintiff took actions herein alleged, was ignorant of the falsity of the
  28   Defendants’ representations and believed them to be true and complete. In reliance
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                                                                                                                                                                                      26
                                                                                                                                                                           FIRST AMENDED COMPLAINT
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   1   on these representations, Plaintiff was induced to and did provide Defendants with
   2   valuable Confidential Information that included Trade Secrets. After SDI was told
   3   that the sale was complete, SDI handed over its client contact and insurance payor
   4   information. After SDI was advised that the sale was complete, it agreed to the
   5   Netflix LSA. The loss of the customer list and insurance payor information resulted
   6   in lost business opportunities to SDI. The signing of the Netflix LSA resulted in
   7   business loss to SDI.
   8                                      116. Had Plaintiff known the facts, Plaintiff would not have taken such
   9   action. The key fact that Huettenbach was specifically enjoined from having
  10   database/login credentials that would allow for direct access to any Medical Records,
  11   made the deal impossible. How can the CEO operate a laboratory with out access to
  12   medical records? The Plaintiff’s reliance on Defendants’ representations was
  13   justified as Huettenbach was the chief executive officer of Same Day and the Same
  14   Day affiliates.
  15                                      117. As a proximate result of the fraudulent conduct of Defendants as herein
  16   alleged, Plaintiff expended money, time, and energy in producing confidential
  17   information and proceeded in the sale of a business that would not have proceeded
  18   had the Plaintiff known the complete truth as stated above.
  19                                      118. The aforementioned conduct was an intentional misrepresentation,
  20   deceit, and concealment of a material fact known to Defendants with the intention on
  21   the part of the Defendants to deprive Plaintiff of its confidential information,
  22   property and legal rights and thus causing injury. The Defendants’ conduct was
  23   despicable and deprived Plaintiff of its valuable rights and assets. The conduct of the
  24   Defendants demonstrated a conscious disregard for the Plaintiff’s rights so as to
  25   justify exemplary and punitive damages.
  26   ///
  27   ///
  28   ///
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                                                                                                                                                                                      27
                                                                                                                                                                           FIRST AMENDED COMPLAINT
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   1                                                                                                                                                 SECOND CAUSE OF ACTION
   2                                                                                                                       NEGLIGENT MISREPRESENTATION
   3                                                                                                                                            CIVIL CODE SECTION 1710 (2)
   4                                                        (Against Felix Huettenbach and Same Day Technologies, Inc.)
   5                                      119. Plaintiff incorporates paragraphs 1 through 118 as though fully set forth
   6      herein.
   7                                      120. The representations to the Plaintiff recounted above were false.
   8                                      121. When Defendants made such representations, they had no reasonable
   9   ground to believe they were true.
  10                                      122. The Plaintiff, at the time that these representations were made by the
  11   Defendants and at the time Plaintiff took actions herein alleged, were ignorant of the
  12   falsity of Defendants’ negligent representations and believed them to be true.
  13                                      123. In reliance on these representations, Plaintiff was induced and did
  14   produce confidential information as described in detail in the complaint for damages.
  15                                      124. As a proximate result of the negligent conduct of the defendants as
  16   herein alleged, Plaintiff has lost its confidential information, employees and
  17   effectively its business.
  18                                      125. Plaintiff has sustained damages in an amount to be determined
  19   according to proof at the time of Trial.
  20                                                                                                                                                       THIRD CAUSE OF ACTION
  21                                                                                                                                                                     FRAUD -FIRST COUNT
  22                                                                                                                                                                                        FALSE PROMISE
  23                                                                                                                                                      CIVIL CODE SECTION 1710
  24                                                                          (Against Felix Huettenbach and Same Day Technologies, Inc.)
  25                                      126. Plaintiff incorporates for incorporates paragraphs 1 through 149 as
  26   though fully set forth herein.
  27                                      127. On December 6 to 7, 2022, Heuttenbach told Mr. Mohiuddin that the
  28   sale would be complete upon the handing over of insurance payment information and
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                                                                                                                                                                                      28
                                                                                                                                                                           FIRST AMENDED COMPLAINT
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   1   client contact information. On December 9, 2022, Huettenbach announced to the SDI
   2   employees and management via video conference that he [Fundamentum] was the
   3   owner of SDI and that everyone has jobs and that they must work with
   4   Fundamentum. On that same day, Huettenbach and Same Day insisted on change of
   5   ownership notifications to go out.
   6                                      128. Huettenbach privately explained to SDI’s president that the deal to
   7   purchase SDI was done and that all parties should proceed as if the transaction has
   8   been completed. In fact, Huettenbach, in his capacity as Fundamentum’s CEO, then
   9   released the escrow funds to SDI so that SDI received at least the cash deposit and
  10   payment but not the stock promised to SDI. SDI reasonably concluded that the deal
  11   was done.
  12                                      129. The truth was that Huettenbach knew that the deal was not done, and
  13   Plaintiff is informed and believes that despite his promises, Huettenbach knew that
  14   the transaction would not be completed. The truth was that Huettenbach immediately
  15   needed SDI’s Confidential Information for the benefit of his affiliated companies.
  16                                      130. In reliance on the representations made by said Defendants, SDI did in
  17   fact produce the trade secret information as detailed in the complaint for damages.
  18   On December 6 through 7, 2022, SDI handed over its insurance payor information
  19   after the representations were made and in direct reliance on the representations.
  20   SDI allowed insurance payment notification lists to be sent out in direct reliance on
  21   the representations. On or about December 14, 2022, SDI handed over its list of 186
  22   contacts in direct reliance on the representation that the sale was done. In further
  23   reliance on these representations, SDI agreed to allow the Netfix LSA to go through.
  24   Each of these acts of reliance resulted in the loss of business opportunities to SDI
  25   and the loss of income. Shortly thereafter, word got out SDI’s customers and to the
  26   insurance companies that the SDI was in fact sold.
  27                                      131. When Huettenbach made the representations, he knew they were false
  28   and made these representations with the intent to deceive the Plaintiff to induce the
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                                                                                                                                                                                      29
                                                                                                                                                                           FIRST AMENDED COMPLAINT
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   1   Plaintiff to produce its confidential information.
   2                                      132. Huettenbach made the representation in his capacity as chief executive
   3   officer of Same day and or QuickMed as Fundamental did not exist at that time.
   4                                      133. The Plaintiff, at the time the representations were made by the
   5   Defendants and at the time the Plaintiff acted as herein allege, was ignorant of the
   6   falsity of the Defendants’ representations and believed them to be true. In reliance of
   7   these representations, the Plaintiff was induced to and did produce the confidential
   8   information as stated above.
   9                                      134. As a proximate result of the fraudulent conduct of Defendants Plaintiff
  10   has lost its confidential information, its business, employees, customers, insurance
  11   contracts and has incurred considerable costs and fees.
  12                                      135. The conduct of the Defendants was intentional misrepresentation, deceit
  13   and concealment of material facts known to the Defendants with the intention on the
  14   part of the Defendants of thereby depriving the Plaintiff of property or legal rights or
  15   otherwise causing injury and was despicable conduct that subjected the Plaintiff to a
  16   cruel and unjust hardship in conscious disregard of Plaintiff’s rights, so as to justify
  17   an award of exemplary and punitive damages.
  18                                                                                                                                                                                         SECOND COUNT
  19                                                                                                                       NEGLIGENT MISREPRESENTATION
  20                                                                                                                                            CIVIL CODE SECTION 1710 (2)
  21                                                          (Against Felix Huettenbach and Same Day Technologies, Inc)
  22                                      136. Plaintiff incorporates for incorporates paragraphs 1 through 135 as
  23   though fully set forth herein.
  24                                      137. When Huettenbach made the representation he owned SDI, he had no
  25   reasonable ground to believe his statement was true and correct.
  26                                      138. Huettenbach’s negligent misrepresentation induced the Plaintiff to
  27   produce its Confidential Information, including Trade Secrets, to Defendants.
  28                                      139. Huettenbach made the representation in his capacity as chief executive
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                                                                                                                                                                                      30
                                                                                                                                                                           FIRST AMENDED COMPLAINT
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   1   officer of Same Day and/or QuickMed as Fundamentum did not exist at that time.
   2                                      140. The Plaintiff, at the time the representations were made by the
   3   Defendants and at the time the Plaintiff acted as herein alleged, was ignorant of the
   4   falsity of the Defendants’ representations and believed them to be true.
   5                                      141. In reliance of these representations, the Plaintiff was induced to and did
   6   produce the Confidential Information as stated above.
   7                                      142. As a proximate result of the fraudulent conduct of Defendants Plaintiff
   8   has lost its Confidential Information, its business, employees and has incurred
   9   considerable costs and fees.
  10                                      143. Defendants’ negligent misrepresentation was a substantial factor in
  11   causing substantial monetary damages in an amount to be proven at the time of trial.
  12                                                                                                                                                FOURTH CAUSE OF ACTION
  13                                                                                                 MISAPPROPRIATION OF TRADE SECRETS
  14                                                                                                                                                                       (Against All Defendants)
  15                                      144. Plaintiff incorporates paragraphs 1 through 143 as though fully set forth.
  16                                      145. Plaintiff was in possession of Confidential Information consisting of
  17   trade secrets (“Trade Secrets”) as identified above and specifically in Exhibit “4.”
  18                                      146. Plaintiff’s Trade Secrets had an economic value in that they were used
  19   to own, operate and manage a clinical laboratory. The subject Trade Secrets were
  20   used for human testing, organizing data and creating an efficient billing/accounting
  21   program which would provide any lab company with a financial benefit. The subject
  22   Trade Secrets were created through the expenditure of significant time, capital and
  23   resources by Plaintiff.
  24                                      147. Plaintiff made reasonable efforts to ensure that the Trade Secrets
  25   remained secret by requiring those that needed to know about the Trade Secrets sign
  26   a Non-Disclosure Agreement (“NDA”). Furthermore, Trade Secrets were kept
  27   confidential by the Managers and employees of SDI who signed an employee
  28   confidentiality agreement.
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                                                                                                                                                                                      31
                                                                                                                                                                           FIRST AMENDED COMPLAINT
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   1                                      148. On or about September 15, 2022, Same Day signed an NDA and
   2   promised not to disclose or otherwise misappropriate Plaintiff’s Trade Secrets. The
   3   flow of Trade Secrets started on or about September 16, 2022, and continued as
   4   stated in great detail in the paragraphs above. While Defendants procured some of
   5   the trade secrets during the agreed-upon due diligence review while Defendants were
   6   assessing the purchase of the company, Defendants improperly maintained dominion
   7   and control over the Trade Secrets when Defendants refused to return materials when
   8   demanded.
   9                                      149. The flow of trade secret information to Defendants increased after
  10   December 6 through 7, 2022, after Heuttenbach told SDI that the deal was complete.
  11   After that, SDI shared its software tests menu of COVID-19, Flu a, Flu b, RSV
  12   Combo test in a group text between Huettenbach and his team.                                                                                                                                                                                                                                                                                                                                                       On or about
  13   December 16, 2022, Plaintiff shared SDI Labs Software integration for processing
  14   the samples for RSV and Influenza Combo Panel Test.
  15                                      150. Defendants also published SDI’s website and other proprietary
  16   information without the permission of SDI, when they posted it online:
  17   https://www.prnewswire.com/news-releases/sameday-health-launches-single-swab-
  18   test-for-covid-19-flu-and-rsv-301704617.html and at https://www.quickmedca.com.
  19   and at https://www.sameday-testing.com.
  20                                      151. Plaintiff is informed and believes that on or about September 22, 2022,
  21   and continuing thereafter, the Trade Secrets were sent to Defendants’ affiliated
  22   companies and third parties in violation of the NDA. Plaintiff is informed and
  23   believes that each named defendant has had and continues to maintain the Trade
  24   Secrets.
  25                                      152. The Trade Secrets stated in Exhibit 4 generally included but not limited
  26   to customer lists, customer information, customer pricing, customer primary contact
  27   information, proprietary software and software integration, proprietary clinical lab
  28   processes, vendor information (including contact and pricing such as the pricing and
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                                                                                                                                                                                      32
                                                                                                                                                                           FIRST AMENDED COMPLAINT
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   1   use of specific reagents in testing) and the physical combo test that allows for
   2   COVID-19, Flu-A, Flu-B and RSV with one sample. For that test, SDI developed a
   3   process by which a single sample can be used for all four viruses and the same
   4   sample can also be used for both a rapid test and lab test, thereby improving
   5   efficiency in time and cutting costs. The physical test kit includes a process that
   6   allows it to be efficiently tracked by the proprietary software, including a QR code
   7   on the box that aids in tracking, which in turn increases efficiency.
   8                                      153. Plaintiff is informed and believes that said Trade Secrets were actually
   9   used by Defendants and third parties in violation of the NDA and oral instructions.
  10                                      154. Defendants used said Trade Secrets for the economic benefit of
  11   Defendants and other third parties without the permission of Plaintiff.
  12                                      155. As a proximate result of the misappropriation of the Trade Secrets that
  13   are identified above, said Trade Secrets have lost value and are no longer maintained
  14   as Trade Secrets. As a proximate cause of Defendant’s misappropriation of the Trade
  15   Secrets, Plaintiff has sustained damages in an amount to be determined according to
  16   proof at the time of trial.
  17                                      156. Through the acts discussed above, Defendants violated the California
  18   Uniform Trade Secret Act and the Federal Defend Trade Secrets Act.
  19                                      157. Plaintiff is entitled to all remedies provided at law, including remedies
  20   provided or allowed by Federal and State law for Defendants’ misappropriation of
  21   Plaintiff’s Trade Secrets. Therefore, Plaintiff will be seeking damages and injunctive
  22   relief in an amount according to proof at the time of trial.
  23                                                                                                                                                         FIFTH CAUSE OF ACTION
  24                     NEGLIGENT INTERFERENCE WITH ECONOMIC RELATIONSHIP
  25                                                                                                                                                                         (Against all Defendants)
  26                                      158. Plaintiff incorporates paragraphs 1 through 157 as though fully set forth.
  27                                      159. Plaintiff had an advantageous relationship with both customers and
  28   insurance payors in connection with SDI's business as a clinical laboratory.
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                                                                                                                                                                                      33
                                                                                                                                                                           FIRST AMENDED COMPLAINT
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   1                                      160. Plaintiff entered into written contracts with both its customers and the
   2   insurance payors in the industry.
   3                                      161. Defendants and SDI signed a Non-disclosure Agreement which
   4   contained a non-solicitation provision period. (See Exhibit “2.”)
   5                                      162. Furthermore, Defendant Huettenbach agreed that he would not interfere
   6   with SDI’s business.
   7                                      163. After Defendants were advised of the name, address and telephone
   8   number of each and every customer as well as the insurance payors and relevant
   9   contact information which was indeed confidential, Defendants negligently ignored
  10   all instructions and attempted to conduct business with customers, pester customers
  11   and make reckless remarks to customers that caused said customers to question SDI.
  12   For example, telling customers and insurance payors that SDI was owned by
  13   Fundamentum before the sale occurred was negligent and caused SDI to lose current
  14   and future business.
  15                                      164. Plaintiff is informed and believes that the Defendants had access to key
  16   customer contacts and used the confidential contracts to create business contacts for
  17   all defendants despite being advised not to solicit said customers. This contact was
  18   annoying, unprofessional and disrupted SDI’s business.
  19                                      165. As stated above, Plaintiff is informed and believes that Defendants may
  20   still be conducting business with said customers and insurance payors.
  21                                      166. Defendants’ actions have severed Plaintiff’s relationship with                                                                                                                                                                                                                                                                                                                                                                  186
  22   individual clients and most of its insurance payor contacts, which has caused
  23   Plaintiff to suffer a substantial economic loss. Plaintiff is informed and believes that
  24   Defendant’s actions will make it difficult to regain or continue business with these
  25   customers and insurance payors. To date, Plaintiff has lost 186 different paying
  26   customers and insurance contacts.
  27                                      167. Plaintiff has been damaged by Defendants’ negligent acts in amount to
  28   be determined according to proof at the time of trial. The direct result of the loss of
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                                                                                                                                                                                      34
                                                                                                                                                                           FIRST AMENDED COMPLAINT
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   1   these clients and insurance contacts has been a reduction in current revenue from the
   2   186 clients on the client list that was handed over to Same Day and the insurance
   3   payor contacts that Same Day received in December of 2022, and an expected loss of
   4   future revenue from the same clients and insurance contacts...
   5                                                                                                                                                         SIXTH CAUSE OF ACTION
   6               INTENTIONAL INTERFERENCE WITH ECONOMIC RELATIONSHIP
   7                                                                                                                                                                       (Against All Defendants)
   8                                      168. Plaintiff incorporates paragraphs 1 through 167 as though fully set forth.
   9                                      169. Prior to August 23, 2022, Plaintiff had both a contractual and non-
  10   contractual economic relationship with numerous customers and insurance payors.
  11                                      170. On August 23, 2022 Defendants signed the NDA and agreed not to
  12   solicit Plaintiff’s customers or insurance payers unless and until SDI was purchased
  13   by Defendants.
  14                                      171. Furthermore, Defendant Huettenbach agreed that he would not interfere
  15   with SDI’s business.
  16                                      172. Defendants were aware of such third party contracts as Defendants
  17   conducted a due diligence of SDI’s records as stated in detail above.
  18                                      173. Defendants intentionally disrupted the contracts and economic
  19   relationships cited above by contacting the customers and insurance payors to falsely
  20   inform them that Defendants owned SDI and that they should already start
  21   commencing business with Defendants.
  22                                      174. Plaintiff is informed and believes that Defendants immediately started
  23   poaching customers and insurance payors from SDI without authority or consent by
  24   SDI.                                     Defendants used Plaintiff’s Confidential Information, including customer
  25   contact information to bother/solicit Plaintiff’s customers and insurance payors.
  26                                      175. The effect of this disruption caused harm to SDI in several different
  27   ways. Some customers left SDI and some customers decided to temporarily hold off
  28   conducting business with SDI as there were mixed signals about the purchase of
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                                                                                                                                                                                      35
                                                                                                                                                                           FIRST AMENDED COMPLAINT
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   1   SDI.
   2                                      176. Insurance payors began to question their relationship with SDI as the
   3   representations about the purchase of SDI by Defendants appeared to be untrue.
   4                                      177. Plaintiff lost a substantial amount of the business and revenues were
   5   significantly reduced. Due to Defendants ‘intentional interference, Trade Secrets
   6   were stolen and some employees left which compounded Plaintiff’s losses.
   7                                      178. The aforementioned acts were willful, oppressive, fraudulent and
   8   malicious in that Defendants were saying whatever was necessary to ensure that the
   9   customers and insurance payers were going to proceed with Defendants.
  10                                      179. To date, Plaintiff has lost 186 different paying customers and insurance
  11   contacts. The direct result of the loss of these clients and insurance contacts has
  12   been a reduction in current revenue from the 186 clients on the client list that was
  13   handed over to Same Day and the insurance payor contacts that Same Day received
  14   in December of 2022, and an expected loss of future revenue from the same clients
  15   and insurance contacts.
  16                                      180. Plaintiff is furthermore entitled to punitive damages according to proof.
  17                                                                                                                                             SEVENTH CAUSE OF ACTION
  18                                                                                                                                                            PROMISSORY ESSTOPEL
  19                                                                                                                                                                       (Against All Defendants)
  20                                      181. Plaintiff incorporates paragraphs 1 through 180 as though fully set forth.
  21                                      182. On December 6 to 7, 2022, Heuttenbach told Mr. Mohiuddin that the
  22   sale would be complete upon the handing over of insurance payment information and
  23   client contact information. On December 9, 2022, Huettenbach announced to the SDI
  24   employees and management via video conference that he [Fundamentum] was the
  25   owner of SDI and that everyone has jobs and that they must work with
  26   Fundamentum. On that same day, Huettenbach and Same Day insisted on change of
  27   ownership notifications to go out.
  28                                      183. Huettenbach privately explained to SDI’s president that the deal to
       ______________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________________



                                                                                                                                                                                      36
                                                                                                                                                                           FIRST AMENDED COMPLAINT
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   1   purchase SDI was done and that all parties should proceed as if the transaction has
   2   been completed.
   3                                      184. The truth was that Huettenbach knew that the deal was not done, and
   4   Plaintiff is informed and believes that despite his promises, Huettenbach knew that
   5   the transaction would not be completed. The truth was that Huettenbach needed
   6   SDI’s Confidential Information for the benefit of his affiliated companies.
   7                                      185. In reliance on the representations made by said Defendants, SDI did in
   8   fact produce the trade secret information as detailed in the complaint for damages.
   9   On December 6 through 7, 2022, SDI handed over its insurance payor information
  10   after the representations were made and in direct reliance on the representations.
  11   SDI allowed insurance payment notification lists to be sent out in direct reliance on
  12   the representations. On or about December 14, 2022, SDI handed over its list of 186
  13   contacts in direct reliance on the representation that the sale was done. In further
  14   reliance on these representations, SDI agreed to allow the Netfix LSA to go through.
  15   Each of these acts of relieance resulted in the loss of business opportunities to SDI
  16   and the loss of income.
  17                                      186. The foregoing representations were in contrast to and contradiction to a
  18   previous letter of intent.
  19                                      187. Huettenbach reassured SDI's president that he must continue to deal
  20   privately with him to complete the transaction on paper, but for all intents and
  21   purposes the deal had been done and thus Huettenbach felt justified in claiming to
  22   the public that he was the owner of SDI as of December 9, 2022.
  23                                      188. SDI's president and staff believed the representations of Huettenbach tht
  24   the deal was done to be true and thus relied on said representations to their detriment.
  25                                      189. As a consequence, Defendants continued to produce Confidential
  26   Information which was ultimately used for the financial benefit of the Defendants
  27   and its related affiliate companies.
  28                                      190. The promise and assurance that the transaction had been completed was
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                                                                                                                                                                                      37
                                                                                                                                                                           FIRST AMENDED COMPLAINT
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   1   not true and as a consequence, Plaintiff has been damaged substantially by way of
   2   loss of customers, insurance payers and employees. The misrepresentations by
   3   Huettenbach have caused damage to the business and embarrassment to SDI's
   4   management.
   5                                      191. Plaintiff has been damaged in an amount to be determined according to
   6   proof at the time of trial.
   7                                                                                                                                                  EIGHTH CAUSE OF ACTION
   8                                                                                       BREACH OF NON-DISCLOSURE AGREEMENT
   9                                                                                                                                                                       (Against All Defendants)
  10                                      192. Plaintiff incorporates paragraphs 1 through 191 as though fully set forth.
  11                                      193. On August 23, 2022, SDI and Same Day signed a Mutual
  12   Confidentiality and Non-Disclosure Agreement. (See Exhibit “2”.)
  13                                      194. Same Day and its agents agreed to keep all “Confidential Information”
  14   in the strictest of confidence. Further Same Day and its agents agreed not to use the
  15   Confidential Information for any purpose other than in connection with the purchase
  16   of SDI. Same Day and its agents were bound not to disclose the Confidential
  17   Information to anyone and was supposed to keep said Confidential Information safe
  18   from third parties. Same Day and its agents were bound to return the Confidential
  19   Information if the sale was not completed.
  20                                      195. Plaintiff had performed all conditions, covenants and promises required
  21   to be performed in accordance with the terms and conditions of the NDA.
  22                                      196. Plaintiff is informed and believes that on or about September 22, 2022,
  23   Defendants breached the NDA by exposing the Confidential Information to third
  24   parties and allowed these third parties to use the Confidential Information for
  25   business purposes.
  26                                      197. Plaintiff’s Confidential Information has been disseminated and thus
  27   Plaintiff has been damaged. Plaintiff is not aware of the full degree to which its
  28   proprietary information has been used by third parties. But as an example, SDI
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                                                                                                                                                                           FIRST AMENDED COMPLAINT
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   1   points to the transmission of materials to third-party BerryDX.                                                                                                                                                                                                                                                                                                                                                  On or about
   2   December 16, 2022, BerryDX was provided software integration materials for
   3   processing the samples for the Combo Panel Test.
   4                                      198. On May 1 and 2, 2022, Plaintiff demanded the return or confirmed
   5   destruction of all Confidential Information within ten (10) days.
   6                                      199. Defendants further breached the NDA by failing to return the materials
   7   to Plaintiff within ten (10) days of the demand.
   8                                      200. Because of Defendants’ breach of the NDA, Plaintiff has incurred
   9   damages and will seek an amount of damages to be determined according to proof at
  10   the time of trial.
  11                                                                                                                                                                                                                PRAYERS
  12                                      WHEREFORE, Plaintiff prays judgment against Defendants as follows:
  13   For the First, Second, Third, Fifth, and Seventh Causes of Action:
  14                                      1.                                  For general and special damages in an amount to be proven at trial;
  15                                      2.                                  For punitive and exemplary damages (Only as to Causes of Actions1
  16                                                                          through 3)
  17                                      3.                                  For costs of suit herein incurred; and,
  18                                      4.                                  For such other and further relief as the Court may deem just and proper.
  19   For the Fourth Cause of Action:
  20                                      1.                                  For general and special damages in an amount to be proven at trial;
  21                                      2.                                  For injunctive relief;
  22                                      3.                                  For costs of suit herein incurred; and,
  23                                      4.                                  For such other and further relief as the Court may deem just and proper.
  24   For the Sixth, and Eighth Causes of Action:
  25                                      1.                                  For general and special damages in an amount to be proven at trial;
  26                                      2.                                  For costs of suit herein incurred; and,
  27                                      3.                                  For such other and further relief as the Court may deem just and proper.
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   1                                      Respectfully submitted.

   2                  2 2023
       Dated: October __,                                                                                                                                                                                                     MCMAHON LYNCH LAW FIRM, INC.
   3

   4

   5                                                                                                                                                                                                                          By: ________________________________
                                                                                                                                                                                                                                  ROBERT J. LYNCH
   6                                                                                                                                                                                                                              Attorneys for Plaintiff,
   7                                                                                                                                                                                                                              SDI LABS, INC.

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   1                                                                                                                                                     DEMAND FOR JURY TRIAL
   2                                      Plaintiff hereby demands a trial by jury in this matter.
   3   Dated: October __,
                      2 2023                                                                                                                                                                                                  MCMAHON LYNCH LAW FIRM, INC.
   4

   5

   6                                                                                                                                                                                                                          By: ________________________________
                                                                                                                                                                                                                                  ROBERT J. LYNCH
   7                                                                                                                                                                                                                              Attorneys for Plaintiff,
   8                                                                                                                                                                                                                              SDI LABS, INC.

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   1                                     PROOF OF SERVICE
   2
                   SDI LABS, Inc. v. SAMEDAY TECHNOLOGIES, INC
   3              U.S. District Court Case No.2:23−cv−05619−MWF(MRWx)
   4
       STATE OF CALIFORNIA                   )
   5                                         ) ss.
       COUNTY OF RIVERSIDE                   )
   6

   7          I am employed in the County of Riverside, State of California. I am over the age of 18
       years and am not a party to the within action; my business address is 1250 Corona Pointe
   8   Court, Suite 407, Corona, California 92879. On October 2, 2023, I served the following
       documents described as: FIRST AMENDED COMPLAINT on the interested parties in this
   9   action by electronic service, via e-mail from Outlook 365, to e-mail addresses that I know to
       be associated with each counsel after having received communications from them at
  10
       said addresses:
  11
       SHEPPARD MULLIN, RICHTER & HAMPTON, LLP
  12   Juthamas J. Suwatanapongched, Esq.
       Taryn Q. McPherson, Esq.
  13   333 South Hope Street, 43rd Floor
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  14   jsuwatanapongched@sheppardmullin.com
       tmcpherson@sheppardmullin.com
  15
       Danielle Vrabie, Esq.(Pro hac vice)
  16   30 Rockefeller Plaza
       New York, New York 10112-0015
  17   dvrabie@shepaprmullin.com

  18   TIEDT & HURD

  19   John E. Tiedt, Esq.
       Marc S. Hurd, Esq.
  20
       1250 Corona Pointe Court, Suite 402
  21   Corona, CA 92879
       jtiedt@tiedtlaw.com
  22   mhurd@tiedtlaw.com
       jhusk@tiedtlaw.com
  23
       I declare that I am a member of the Bar of this Court. I declare under penalty of perjury under
  24
       the laws of the State of California that the foregoing is true and correct. Executed on October
  25   2, 2023, Corona, California.

  26                                                 _____________________
                                                     Robert J. Lynch
  27

  28

                                                PROOF OF SERVICE
